Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 1 of 26

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DEIDRA HUBAY, ROBERT LOSIENIECKI, )
JESSICA DORANTES and ALEXIS )
GABRIELLE HERRICK, ) Civil Action No.: 2:19-cv-1327
)
Plaintiffs, )
) ANSWER WITH
Vv. ) COUNTERCLAIM
)
JANELLE MARINA MENDEZ, PAMELA )
HEAL and MILITARY SEXUAL TRAUMA )
MOVEMENT, )
)
Defendants. )

Defendants, Janelle Maria Mendez, Pamela Heal and Military Sexual Trauma
Movement, Inc., i/s/a Military Sexual Trauma Movement (collectively “Defendants”), through their
undersigned counsel and pursuant to Rules 8 and 12 of the Federal Rules of Civil Procedure, hereby
respond to the Complaint filed by Plaintiffs, Deidra Hubay, Robert Losieniecki, Jessica Dorantes and
Alexis Gabrielle Herrick (collectively “Plaintiffs”), states as follows:

With regard to the first unnumbered paragraph of the Complaint, Defendants admit
that Plaintiffs bring this action alleging the purported copyright and other violations it references in
the paragraphs and Plaintiffs seek in the Complaint the relief it references. Defendants deny any
such purported violations of law as alleged and, specifically, deny any liability as stated on the part
of Defendants collectively or individually. Defendants deny any and all other allegations contained

in the first unnumbered paragraph that is not expressly admitted.
Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 2 of 26

INTRODUCTION
l. Defendants deny each and every allegation contained in paragraph 1 of the Complaint.
PARTIES
2. Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 2 of the Complaint, and on that basis, deny each and every allegation
contained in paragraph 2 of the Complaint.

ae Defendants lack knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 3 of the Complaint, and on that basis, deny each and every allegation
contained in paragraph 3 of the Complaint.

4, Defendants lack knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 4 of the Complaint, and on that basis, deny each and every allegation
contained in paragraph 4 of the Complaint.

5. Defendants lack knowledge or information sufficient to form a belief as to the truth
of the allegations in paragraph 5 of the Complaint, and on that basis, deny each and every allegation
contained in paragraph 5 of the Complaint.

6. Defendants admit the allegations contained in paragraph 6 of the Complaint.

7. Defendants deny the allegations contained in paragraph 7 of the Complaint as to that
Defendant, Pamela Heal, resides at 4875 Boulder Way, Temecula, CA 92592, and admit the
remaining allegations contained in paragraph 7 of the Complaint that Defendant, Mendez, is
identified as the Executive Director of Civic Engagement of Defendant, Military Sexual Trauma
Movement (hereinafter “MSTM”).

8. Defendants admit the allegations contained in paragraph 8 of the Complaint.

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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 3 of 26

JURISDICTION AND VENUE

9. The allegations contained in paragraph 9 of the Complaint call for a legal conclusion
inappropriate for admission or denial. To the extent a response is required, Defendants deny
knowledge or information sufficient to form a belief as to the truth of the allegations contained in
paragraph 9 of the Complaint.

10. The allegations contained in paragraph 10 of the Complaint call for a legal conclusion
inappropriate for admission or denial. To the extent a response is required, Defendants deny
knowledge or information sufficient to form a belief as to the truth of the allegations contained in
paragraph 10 of the Complaint.

11. The allegations contained in paragraph 11 of the Complaint call fora legal conclusion
inappropriate for admission or denial. To the extent a response is required, Defendants deny
knowledge or information sufficient to form a belief as to the truth of the allegations contained in
paragraph 11 of the Complaint.

FACTUAL ALLEGATIONS

12. Defendants admit the allegations contained in paragraph 12 of the Complaint.

13. Defendants admit the allegations contained in paragraph 13 of the Complaint except
deny that “Other volunteers and supporters of the MSTM also resigned following these events.”

14. Defendants lack knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 14 of the Complaint and on that basis, deny each and every
allegation contained in paragraph 14 of the Complaint.

15. Defendants deny the allegations contained in paragraph 15 of the Complaint.

16. Defendants deny the allegations contained in paragraph 16 of the Complaint.

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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 4 of 26

17. Defendants admit the allegations contained in paragraph 17 of the Complaint.
18. Defendants deny the allegations contained in paragraph 18 of the Complaint.
19. Defendants deny the allegations contained in paragraph 19 of the Complaint except
admit that Plaintiff, Losieniecki, took numerous photographs.

20. Defendants deny the allegations contained in paragraph 20 of the Complaint.
21. Defendants deny the allegations contained in paragraph 21 of the Complaint.
22. Defendants deny the allegations contained in paragraph 22 of the Complaint.
23. Defendants deny the allegations contained in paragraph 23 of the Complaint.
24. Defendants deny the allegations contained in paragraph 24 of the Complaint.
25. Defendants deny the allegations contained in paragraph 25 of the Complaint.
26. Defendants deny the allegations contained in paragraph 26 of the Complaint.
27. Defendants deny the allegations contained in paragraph 27 of the Complaint.
28. Defendants deny the allegations contained in paragraph 28 of the Complaint.
29. Defendants deny the allegations contained in paragraph 29 of the Complaint.
30. Defendants deny the allegations contained in paragraph 30 of the Complaint.
a1. Defendants deny the allegations contained in paragraph 31 of the Complaint.
32. Defendants deny the allegations contained in paragraph 32 of the Complaint.
33. Defendants deny the allegations contained in paragraph 33 of the Complaint.
34. Defendants deny the allegations contained in paragraph 34 of the Complaint.
35. Defendants deny the allegations contained in paragraph 35 of the Complaint.
36. Defendants deny the allegations contained in paragraph 36 of the Complaint.

37. Defendants deny the allegations contained in paragraph 37 of the Complaint

ail.
Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 5 of 26

38. Defendants lack knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 38 of the Complaint and on that basis, deny each and every
allegation contained in paragraph 38 of the Complaint.

39. Defendants lack knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 39 of the Complaint and on that basis, deny each and every
allegation contained in paragraph 39 of the Complaint.

40. Defendants deny the allegations contained in paragraph 40 of the Complaint.

41. Defendants deny the allegations contained in paragraphs 41 (a) through (d) of the
Complaint.

42. Defendants deny the allegations contained in paragraph 42 of the Complaint.

COUNT I

Copyright Infringement

Plaintiffs Losieniecki vs. All Defendants

 

43. Answering paragraph 43 of the Complaint, Defendants incorporate their answers and
responses contained in paragraphs 1 through 42 inclusive as though fully set forth herein.

44. Defendants deny the allegations contained in paragraph 44 of the Complaint.

45. Defendants lack knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 45 of the Complaint and on that basis, deny each and every
allegation contained in paragraph 45 of the Complaint.

46. Defendants deny the allegations contained in paragraph 46 of the Complaint.

47. Defendants deny the allegations contained in paragraph 47 of the Complaint.

48. Defendants deny the allegations contained in paragraph 48 of the Complaint.

a5.
Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 6 of 26

49. Defendants deny the allegations contained in paragraph 49 of the Complaint.
50. Defendants deny the allegations contained in paragraph 50 of the Complaint.
51. Defendants deny the allegations contained in paragraph 51 of the Complaint.
52. Defendants deny the allegations contained in paragraph 52 of the Complaint.
53. Defendants deny the allegations contained in paragraph 53 of the Complaint.
54. Defendants deny the allegations contained in paragraph 54 of the Complaint.

COUNT I

Invasion of Privacy - Misappropriation of Name and Likeness
Plaintiffs Hubay and Dorantes vs. All Defendants

 

55. Answering paragraph 55 of the Complaint, Defendants incorporate their answers and
responses contained in paragraphs | through 54 inclusive as though fully set forth herein.

56. Defendants deny the allegations contained in paragraph 56 of the Complaint.

57. Defendants deny the allegations contained in paragraph 57 of the Complaint.

58. Defendants deny the allegations contained in paragraph 58 of the Complaint.

59. Defendants deny the allegations contained in paragraph 59 of the Complaint.

60. Defendants deny the allegations contained in paragraph 60 of the Complaint.

COUNT II
Invasion of Privacy - False Light
Plaintiffs Hubay, Dorantes and Losieniecki vs. All Defendants

61. Answering paragraph 61 of the Complaint, Defendants incorporate their answers and

responses contained in paragraphs 1| through 60 inclusive as though fully set forth herein.

62. Defendants deny the allegations contained in paragraph 62 of the Complaint.

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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 7 of 26

63. Defendants deny the allegations contained in paragraph 63 of the Complaint.
64. Defendants deny the allegations contained in paragraph 64 of the Complaint.
65. Defendants deny the allegations contained in paragraph 65 of the Complaint.
66. Defendants deny the allegations contained in paragraph 66 of the Complaint.
67. Defendants deny the allegations contained in paragraph 67 of the Complaint.
COUNT IV
Declaratory Judgment
All Plaintiffs vs. All Defendants
68. Answering paragraph 68 of the Complaint, Defendants incorporate their answers and
responses contained in paragraphs | through 67 inclusive as though fully set forth herein.
69. Defendants deny the allegations contained in paragraph 69 of the Complaint.
70. Defendants deny the allegations contained in paragraph 70 of the Complaint.
71. Defendants deny the allegations contained in paragraph 71 of the Complaint.
72. Defendants deny the allegations contained in paragraph 72 of the Complaint.
73. Defendants deny the allegations contained in paragraph 73 of the Complaint.
74. Defendants deny the allegations contained in paragraph 74 of the Complaint.
75. Defendants deny the allegations contained in paragraph 75 of the Complaint.
COUNT V [sic, incorrectly numbered as Court IV]
Intentional Infliction of Emotional Distress
All Plaintiffs vs. All Defendants
76. Answering paragraph 76 of the Complaint, Defendants incorporate their answers and

responses contained in paragraphs 1 through 75 inclusive as though fully set forth herein.

27s
Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 8 of 26

77. Defendants deny the allegations contained in paragraph 77 of the Complaint.

78. Defendants deny the allegations contained in paragraph 78 of the Complaint.

79. Defendants deny the allegations contained in paragraph 79 of the Complaint.

80. Defendants deny the allegations contained in paragraph 80 of the Complaint.

81. Defendants deny the allegations contained in paragraph 81 of the Complaint.

82. Defendants deny the allegations contained in paragraph 82 of the Complaint.

83. Defendants deny the allegations contained in paragraph 83 of the Complaint.

PRAYER FOR RELIEF

Paragraphs a through j following paragraph 83 of the Complaint, comprised plaintiffs’ Prayer
for Relief and for that reason do not require a response. However, to the extent these paragraphs
contain factual allegations, Defendants deny each and every allegation contained in those paragraphs;
Defendants also deny any and all liability as alleged and deny that Plaintiffs are entitled to any relief.

AFFIRMATIVE DEFENSES

For their Affirmative Defenses, Defendants, based on knowledge and information presently

available to them, state as follows:
FIRST AFFIRMATIVE DEFENSE
Failure to State a Claim
The Complaint fails to state a claim upon which relief can be granted.
SECOND AFFIRMATIVE DEFENSE
Lack of Subject Matter Jurisdiction/Failure to Satisfy Requirements of Registration
Plaintiffs’ claim for copyright infringement is barred for lack of subject jurisdiction because

Plaintiffs lacked valid copyright registrations for the purported intellectual property rights it asserts

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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 9 of 26

and/or has not properly registered works.
THIRD AFFIRMATIVE DEFENSE
Invalidity of Copyright
Plaintiffs are not entitled to recover on their purported copyright claims because the
copyrights they relied on are invalid or unenforceable.
FOURTH AFFIRMATIVE DEFENSE
Fair Use
Any alleged conduct by Defendants, collectively or individually, as set forth in the Complaint
constitutes a fair use pursuant to applicable copyright law.
FIFTH AFFIRMATIVE DEFENSE
Doctrine of Merger
Any alleged conduct by Defendants, collectively or individually, related to the purported
copyright works as set forth in the Complaint is not infringement as a result of the Doctrine of
Merger.
SIXTH AFFIRMATIVE DEFENSE
Doctrine of Scenes a Faire
Any alleged conduct by Defendants, collectively or individually, relate to the purported
copyright works as set forth in the Complaint is not infringement as a result of the Doctrine of Scenes
a Faire. Plaintiffs’ and Defendants’ works include language that are indispensable and/or standard
in the industry.
SEVENTH AFFIRMATIVE DEFENSE

Misuse_of Copyright

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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 10 of 26

In making a claim for copyright infringement, the Plaintiffs have filed unmeritorious and
sham claims and combined with other improper conduct involving its purported copyright, including,
among other things, misusing its copyright works to accomplish and in furtherance of anti-
competitive purposes.

EIGHTH AFFIRMATIVE DEFENSE

Doctrine of Unclean Hands

 

By improper conduct, Plaintiffs’ claims of copyright infringement are barred by the Doctrine
of Unclean Hands.
NINTH AFFIRMATIVE DEFENSE
Statute of Limitations

Plaintiffs’ copyright claims are barred by the Statute of Limitations.

TENTH AFFIRMATIVE DEFENSE
Fraud on the Copyright Office
Plaintiffs have engaged in fraud on the Copyright Office in that in its application for
copyright registration for the works as issued in the Complaint, it intentionally made false
representations that, among other things, it altered the subject work and these misrepresentations
were material because in absence the registrations would not have been issued.
ELEVENTH AFFIRMATIVE DEFENSE

No Entitlement to Statutory Damages

Plaintiffs are precluded for any recovery of Statutory Damages as defined in the Copyright

Act.

= 10.
Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 11 of 26

TWELFTH AFFIRMATIVE DEFENSE
First Amendment
Plaintiffs’ claims are barred to extent that Defendants are protected by the First Amendment
of the U.S. Constitution.
THIRTEENTH AFFIRMATIVE DEFENSE
Improper Venue/Forum non Conveniens
Plaintiffs Complaint lays improper venue under 28 U.S.C. § 1391 et. seq. and/or the action
is subject to transfer under the Doctrine of Forum non Conveniens under 28 U.S.C. § 1404 (a) and
other applicable law.

FOURTEENTH AFFIRMATIVE DEFENSE

 

Additional Defenses
Defendants may have additional Affirmative Defenses which they are not presently aware.
Accordingly, they reserve the right to supplement or amend this Answer, including the right to assert
additional Affirmative Defenses or any other defense in law of in equity and that may be available

in the future based upon the course or discovery, other factual investigations or proceedings in this

 

action.
DEFENDANTS COUNTERCLAIMS
Defendants/Counterclaim Plaintiffs hereby assert the following Counterclaims against
Plaintiffs.
PARTIES
1. Defendant/Counterclaim Plaintiff, Janelle Marina Mendez (hereinafter “Mendez”),

is an individual who resides at 9K White Gate Drive, Wappingers Falls, NY 12590.

« 7
Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 12 of 26

2. Defendant/Counterclaim Plaintiff, Pamela Heal (hereinafter “Heal”), is an individual
who resides in the State of California.

3 Defendant/Counterclaim Plaintiff, Military Sexual Trauma Movement, Inc.,
(hereinafter “MSTM”), is a New York not-for-profit corporation duly organized under the laws of
the State of New York with its principal place of office at 9K White Gate Drive, Wappingers Falls,
NY 12590.

4. Plaintiff/Counterclaim Defendant Deidra Hubay (hereinafter “Hubay”) is an
individual who resides at 2399 Rose Garden Road, Pittsburgh, PA.

5. Plaintiff/Counterclaim Defendant Robert Losieniecki (hereinafter “Losieniecki’’) is
an individual who resides at 2399 Rose Garden Road, Pittsburgh, PA.

6. Plaintiff/Counterclaim Defendant Jessica Dorantes (hereinafter “Dorantes”) is an
individual who resides at 2677 Idlebrook Circle, Midway Park, NC.

te Plaintiff/Counterclaim Defendant Alexis Gabrielle Herrick (hereinafter “Herrick”)

is an individual who resides at 8079 Castle Rock Court, Passadena, MA.

FACTUAL ALLEGATIONS UNDER THE COUNTERCLAIM

8. Defendant/Counterclaim Plaintiff Mendez is a founder and CEO of
Defendant/Counterclaim Plaintiff MSTM. She organized Defendant/Counterclaim Plaintiff MSTM
in or about June 11, 2019, with the purpose to advocate for military sexual trauma victims.

9; On or about August 2019, Defendant/Counterclaim Plaintiff MSTM organized an
event entitled MSTM Takes on Washington, DC. The event was to promote awareness, lobby

congressmen and senators, and, if necessary, protests to raise awareness as to the plight of women

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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 13 of 26

who have suffered sexual trauma in the military.

10. _ Plaintiff/Counterclaim Defendant, Losieniecki, was a participant of the trip and was
an official volunteer as of August 2019. Plaintiff/Counterclaim Defendant, Losieniecki, was provided
staff lodging at MSTM’s expense for his services.

11. Many volunteers were given money for services or products were provided to them
in exchange for their services.

12. In Plaintiff/Counterclaim Defendant, Losieniecki’s case, his wife,
Plaintiff/Counterclaim Defendant, Hubay, was paid $129.00 via Facebook cash transfer on
September 13,2019 at 6:11 for the purchase of two SIM cards that contained photos of the events
and protest that took place during the movants’ event in Washington, DC. Once Co-
Plaintiff/Counterclaim Defendant, Hubay, received confirmation on her cell phone of the payment,
Plaintiff/Counterclaim Defendant, Losieniecki, handed Defendant/Counterclaim Plaintiff, Mendez,
both SIM cards to complete the transaction.

13. Plaintiffs/Counterclaim Defendants, Losieniecki and Hubay, sold the SIM cards with
the knowledge and understanding that Defendants/Counterclaim Plaintiffs, Mendez and Heal, were
going to upload the photos to Defendants/Counterclaim Plaintiff MSTM’s website and social media
sites.

14. As a result of purchasing the photographs Defendants/Counterclaim Plaintiff
registered the photographs with the US Copyright Office and was assigned Registration Number
VA2-176-197. Annexed hereto and designated a Exhibit “A” is a copy of the Certificate of
Registration. |

15. As arequirement for attending the event, every member who attended was required

~ 18 «
Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 14 of 26

to sign a Consent Form for release of information and media consent. Annexed hereto and designated
as Exhibit B is a sample of that form. These forms specifically stated that all images are property of
Defendants/Counterclaim Plaintiff MSTM and would be shared with media outlets,

16. _ Plaintiffs/Counterclaim Defendants, Losieniecki and Hubay, both signed these
Consents. However, Plaintiff/Counterclaim Defendant, Hubay, as a member of the Board of
Directors of MSTM, had access to all the digital files and upon Plaintiff/Counterclaim Defendant,
Hubay’s, resignation, she accessed those files and illegally removed her consent and other documents
without authority of Defendant/Counterclaim Plaintiff MSTM or its remaining board members,
Defendants/Counterclaim Plaintiffs Mendez or Heal.

17. Because of the sensitivity of nature and the participants who were all traumatized by
being sexually molested while in the military, all members and volunteers were advised that they
could and were not required to attend any and all events if they felt stress and/or traumatized by
participating in same.

18. During the events scheduled in Washington, there were weekly meetings with a
variety of protesting and demonstrations that would take place, including a sit-in at Senator
McSally’s office, a demonstration at the Russell Rotunda, a General Hilton protest in the Senate
Chambers, as well as a protest at the United States Marine Corp. Commodant’s home.

19. Each time it was made clear that whomever did not want to attend, did not have to.
All events were agreed to prior to attending.

20. The day of the protest of the Commander’s home, Plaintiff/Counterclaim Defendant,

Hubay, texted all participants in the morning about having a leisure day and wanted to attend the

monuments.

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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 15 of 26

D1, Defendant/Counterclaim Plaintiff, Mendez, informed Plaintiff/Counterclaim
Defendant, Hubay, that there was a scheduled demonstration at the Commodant’s home which
Defendant/Counterclaim Plaintiff, Heal.

22. Plaintiffs/Counterclaim Defendants, Hubay, Dorantes and Herrick, were all assigned
roles within MSTM. Plaintiff/Counterclaim Defendant, Hubay sought a greater role in the company
and when she was turned down her along with Plaintiffs/Counterclaim Defendants, Losieniecki,
Dorantes and Herrick coordinate a course of conduct to retaliate against Defendant/Counterclaim
Plaintiffs, Mendez and Heal for their refusal to advance Plaintiff/Counterclaim Defendant, Hubay
in the company.

23. Thereafter, Plaintiffs/Counterclaim Defendants, in an attempt to thwart and harm the
Defendants/Counterclaim Plaintiffs took a course of conduct including illegally copyrighting the
photographs which were sold to the Defendants/Counterclaim Plaintiffs while knowing that
Defendants/Counterclaim Plaintiffs already copyrighted the photographs and were the rightful
owners.

24. Thereafter, with an illegally obtained copyright of the photographs which were
previously copyrighted by Defendants/Counterclaim Plaintiffs, Plaintiffs/Counterclaim Defendants
took on a course of conduct to harm and injure the Defendants/Counterclaim Plaintiffs, including
notifying newspapers, websites and social media accounts that the photographs being used in were
illegal and against the owners’ consent which was false and improper These notices, therefore,
caused the photos to be taken down and hurt in the company in its attempt to fund raise.

25. Not satisfied with hurting the company in their fund raising efforts,

Plaintiffs/Counterclaim Defendants thereafter notified the numerous periodicals which were

#15 -

 
Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 16 of 26

reporting the actions of the company and falsely stating that they are owners of the copyright to the
photographs and that said photographs were being illegally used while in violation of their copyright
when Plaintiffs/Counterclaim Defendants knew that they did not own those photographs and the
statements made to social media outlets and news reporting agencies were false and done with the
intent to harm the Defendants/Counterclaim Plaintiffs.

26.  Theaforementioned act perpetrated by Plaintiffs/Counterclaim Defendants were done
with the intent and sole purpose to harm the Defendants/Counterclaim Plaintiffs.

27. In fact, Plaintiffs/Counterclaim Defendants were not satisfied with merely disrupting
and causing financial harm to the company. They also shared information of their lawsuit and their
attacks against the Defendants/Counterclaim Plaintiffs with Anna Bourk, a known sympathizer of
Marines United, also known as MU or Vice Uniform. These groups have made ongoing threats to
Defendant/Counterclaim Plaintiff, Mendez, since 2018 with such threats so severe that her former
employer had to hire security at the workplace for protection.

28. Plaintiff/Counterclaim Defendant, Hubay, knew about this and intentionally shared
the information with these groups so that they could further increase their attacks on
Defendant/Counterclaim Plaintiffs.

29. These actions and other actions of the Plaintiffs/Counterclaim Defendants were done

with the sole intent to harm and cause damage to the Defendants/Counterclaim Plaintiffs.

COUNTERCLAIM COUNT I

Copyright Fraud

30. The preceding paragraphs of the Counterclaim are hereby incorporated by reference

-16-
Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 17 of 26

as though the same were fully set forth herein.

31. | The photographs owned by Defendants/Counterclaim Plaintiffswas fraudulently filed
with the Copyright Office by Plaintiff/Counterclaim Defendant, Losieniecki, upon being informed
that Defendants/Counterclaim Plaintiffs and said filing was performed by Plaintiff/Counterclaim
Defendant, Losieniecki with the express knowledge that he did not own the rights to said
photographs and that the photographs were owned exclusively by Defendants/Counterclaim
Plaintiffs.

32. Plaintiff/Counterclaim Defendant, Losieniecki, fraudulently applied for the
registration after he was advised that Defendants/Counterclaim Plaintiffs had filed for registration
on the photos.

33, Plaintiff/Counterclaim Defendants then took a course of conduct to perpetrate that
fraud by disseminating to social media outlets, news reporting agencies and others that the
photographs were owned by him and are being used without his permission. This alone is
tantamount to copyright fraud as well as infringement on the proper counterclaim of
Defendants/Counterclaim Plaintiffs.

34, Plaintiff/Counterclaim Defendant, Losieniecki, has committed copyright fraud with
actual and constructive knowledge of Defendants/Counterclaim Plaintiffs’ rights of ownership to the
photographs and as a result, Defendants/Counterclaim Plaintiffs are entitled to statutory damages
under the Copyright Act.

35. Due to the Plaintiff/Counterclaim Defendants’ acts of copyright fraud and

infringement, Defendants/Counterclaim Plaintiffs have suffered substantial damages in an amount

to be established at trial.

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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 18 of 26

36. Due to the Plaintiff/Counterclaim Defendants’ acts of infringement and fraud,
Defendants/Counterclaim Plaintiffs have suffered general and special damages in amounts to be
established at trial.

COUNTERCLAIM COUNT II
Intentional Infliction of Emotional Distress

37. The preceding paragraphs of the Counterclaim are hereby incorporated by reference
as though the same were fully set forth herein.

38. Plaintiffs/Counterclaim Defendants’ continuing action in threatening
Defendants/Counterclaim Plaintiffs and reporting to online sites which take active roles in trying to
disparage women who were sexually traumatized in the armed forces, as well as actively hurting or
intentionally trying to hurt the company in it fund-raising efforts is extreme and outrageous and
caused damage both physically and mentally to the Defendants/Counterclaim Plaintiffs.

39. Defendants/Counterclaim Plaintiffs have suffered emotional distress as a direct and
approximate result of the Plaintiffs/Counterclaim Defendants’ actions and Plaintiffs/Counterclaim
Defendants actions are direct result of such distress.

40. Defendants/Counterclaim Plaintiffs’ distress is evidenced by, inter alia, (I) negative
impacts on the ability of the Defendants/Counterclaim Plaintiffs to function at home, work and
school, (ii) anxiety, (iii) depression, (iv) inability to focus and concentrate, (v) inability to sleep
and/or eat, and (vi) and disassociation from reality.

41. Due to Plaintiffs/Counterclaim Defendants’ wrongful acts, Defendants/Counterclaim
Plaintiffs have suffered substantial damages in an amount to be established at trial.

42. Due to Plaintiffs/Counterclaim Defendants’ wrongful acts, Defendants/Counterclaim

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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 19 of 26

Plaintiffs have suffered general and special damages in an amount to be established at trial.

43. Plaintiffs/Counterclaim Defendants’ wrongful acts were and are intentional, malicious

and outrageous to justify an award of punitive damages.
COUNTERCLAIM COUNT III
Declaratory Judgment

44. The preceding paragraphs of the Counterclaim are hereby incorporated by reference
as though the same were fully set forth herein.

45. Defendants/Counterclaim Plaintiffs have asserted and continue to assert that they own
and/or have rights to use and publish the Losieniecki photographs.

46. Defendants/Counterclaim Plaintiffs deny that Plaintiffs/Counterclaim Defendants
possess any such, and a justiciable case and controversy exits between the parties.

47. Defendants/Counterclaim Plaintiffs respectfully request a declaratory Judgment that
Plaintiffs/Counterclaim Defendants do not own and/or have any rights to use and publish the
photographs and the names and likeness of the Plaintiffs/Counterclaim Defendants.

48. Defendants/Counterclaim Plaintiffs further respectfully request that this Court enter
an Order directing the Plaintiffs/Counterclaim Defendants to be permanently enjoined from
dissemination any information about the Defendants/Counterclaim Plaintiffs to any website or social
media and be enjoined from contacting any social media or news agency in regards to the subject
photographs.

49. Due to Plaintiffs/Counterclaim Defendants’ act of infringement and copyright fraud,

Defendants/Counterclaim Plaintiffs have suffered substantial damages in an amount to be established

at trial.

-19-
Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 20 of 26

50. Due to Plaintiffs/Counterclaim Defendants’ acts of infringement and copyright fraud,
Defendants/Counterclaim Plaintiffs have suffered general and special damages in an amount to be
established at trial.

51. Plaintiffs/Counterclaim Defendants’ acts of infringement and copyright fraud were
and are intentional, malicious and outrageous to justify an award of punitive damages.

COUNTERCLAIM COUNT IV

 

Tortious Interference and Perspective Contractual Relationship

52. The preceding paragraphs of the Counterclaim are hereby incorporated by reference
as though the same were fully set forth herein.

53. Defendants/Counterclaim Plaintiffs had existing contracts with potential donors
and/or sponsors to the company and the Plaintiffs/Counterclaim Defendants knew of
Defendants/Counterclaim Plaintiffs’ contracts with said donors and contributors.

54. By the wrongful conduct described above, Plaintiffs/Counterclaim Defendants
intentionally and improperly interfered with Defendants/Counterclaim Plaintiffs’ contracts with
donors, volunteers and perspective contributors and did so with intent and purpose of damaging
Defendants/Counterclaim Plaintiffs’ business and reputation.

55. Plaintiffs/Counterclaim Defendants interference caused Defendants/Counterclaim
Plaintiffs’ donor, volunteers and potential volunteers and donors confusion and to cease doing
business with the Defendants/Counterclaim Plaintiffs. As a result, of Plaintiffs/Counterclaim
Defendants’ actions Defendants/Counterclaim Plaintiffs have and continue to be damaged in an
amount to be determined at trial.

56. Defendants/Counterclaim Plaintiffs have also suffered and continue to suffer

- 20 -
Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 21 of 26

irreparable harm in the form of damage to both their individual and corporate reputation as result of
the Plaintiffs/Counterclaim Defendants’ conduct described herein.

57. While an award of damages may be adequate to compensate
Defendants/Counterclaim Plaintiffs for the loss of particular donors, volunteers and all potential
donors, an award of damages would not be adequate to compensate Defendants/Counterclaim
Plaintiffs for the damages to their reputations caused by Plaintiffs/Counterclaim Defendants.
Defendants/Counterclaim Plaintiffs have suffered and will continue to suffer irreparable harm unless
injunctive relief is granted.

COUNTERCLAIM COUNT V
Prima Facie Tort

58. The preceding paragraphs of the Counterclaim are hereby incorporated by reference
as though the same were fully set forth herein.

59. Plaintiffs/Counterclaim Defendants actively sought out to stop
Defendants/Counterclaim Plaintiffs from obtaining additional volunteers and donors on their social
media and web sites and Plaintiffs/Counterclaim Defendants filed a frivolous, false and fraudulent
copyright to support their false claims that they owned the pictures which were being used illegally
by the Plaintiffs/Counterclaim Defendants with the specific intent and desire to injure the
Defendants/Counterclaim Plaintiffs by fraud and deceit. Plaintiffs/Counterclaim Defendants’ course
of conduct in doing so was so motivated by spite and malevolence and has no legal justification.

60. By reason of the foregoing, Plaintiffs/Counterclaim Defendants have caused
irreparable harm to Defendants/Counterclaim Plaintiffs’ personal and professional reputations and

has tormented them putting the future of the company, as well as its ability to assist people and

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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 22 of 26

defend its reputation.

61. Asaresult of the Plaintiffs/Counterclaim Defendants’ past and continued wrongful
acts, Defendants/Counterclaim Plaintiffs have suffered damages in a form of inter alia loss, donors
and volunteers which would all be used to assist other people traumatized in their fight for their
cause,

62. In addition, Defendants/Counterclaim Plaintiffs suffered and will continue to suffer
irreparable harm unless injunctive relief is granted.

COUNTERCLAIM COUNT VI
Permanent Injunction

63. The preceding paragraphs of the Counterclaim are hereby incorporated by reference
as though the same were fully set forth herein.

64. As set forth above, Plaintiffs/Counterclaim Defendants engaged in a course of
conduct and/or repeated committed acts with alarm and/or seriously annoy Defendants/Counterclaim
Plaintiffs and would serve no legitimate purpose, including, but not limited to, filing a fraudulent
copyright and claiming the copyright violation without merit. Plaintiffs/Counterclaim Defendants
committed said acts with the specific intent to harass, annoy and/or alarm Defendants/Counterclaim
Plaintiffs.

65. Asa direct and approximate result of Plaintiffs/Counterclaim Defendants’ past and
continual wrongful acts, Defendants/Counterclaim Plaintiffs have been materially and substantially
in an amount to be established at trial including compensation for Defendants/Counterclaim
Plaintiffs’ time, effort and attorney fees.

66. _ Plaintiffs/Counterclaim Defendants have no remedy of law.

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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 23 of 26

67. Accordingly, Defendants/Counterclaim Plaintiffs seek a permanent injunctive
enjoining Plaintiffs/Counterclaim Defendants from commencing or notifying any social media outlet,
posting on social media, notifying news organizations, or tribunal against Defendants/Counterclaim
Plaintiffs and/or their family, employees, business partners, attorneys, agents, servants,
representatives and affiliates.

PRAYER FOR RELIEF

WHEREFORE, Defendants/Counterclaim Plaintiffs pray for judgment against
Plaintiffs/Counterclaim Defendants, in Counterclaim Counts I through VI above along with be
awarded costs of this action; and such further legal and equitable relief as the Court deems proper.

Dated: New York, New York
December 24, 2019 Respectfully submitted,

THE LAW OFFICES OF
ROBERT G. ANDROSIGLIO, P.C.

By: __y~

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Bar No.: 2386035

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- 23
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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 24 of 26

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-24-
 

Case 2:19-cv-01327-NR Document 24 Filed 02/03/20 Page 25 of 26

CERTIFICATE OF SERVICE
I, Robert G. Androsiglio, attorney for the Defendants, certify that on February 3, 2020, I
served the ANSWER WITH COUNTERCLAIMS, via CM/EF only, by uploading a true copy of
same to the Court’s Website for dissemination upon Plaintiffs’ counsel namely:
MEYER, UNKOVIC & SCOTT LLP

535 Smith Street, Suite 1300
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Case 2:19-cv-01327-NR Document 24 Filed 02/03/20

Civil Action No,: 2:19-cv-1327

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DEIDRA HUBAY, ROBERT LOSIENIECKI,

JESSICA DORANTES and ALEX GABRIELLE HERRICK,
Plaintiffs,

- against -

JANELLE MARINA MENDEZ, PAMELA HEAL
and MILITARY SEXUAL TRAUMA MOVEMENT,

Defendants.

Page 26 of 26

 

ANSWER WITH COUNTERCLAIMS

 

THE LAW OFFICES OF
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To:

Attorney(s) for

 

Service of a copy of the within is hereby admitted.

 

Dated:
Attorney(s) for
PLEASE TAKE NOTICE
oy that the within is a (certified) true copy of a entered in the office of the clerk of the within
named Court on 20
[] that an Order of which the within is a true copy will be presented for settlement to the Hon.
one of the judges of the within named Court,at on ,20 ,at .m.
Dated:
The Law Offices of
Robert G. Androsiglio, P.C.
Attorneys for Defendants
30 Wall Street - 8" Floor
New York, New York 10005-2205
(212) 742-0001
To:

Attorney(s) for
